           Case 2:18-cv-00476-LCB Document 49 Filed 05/03/19 Page 1 of 14                   FILED
                                                                                   2019 May-03 PM 02:32
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION
CHRISTOPHER TODD RUGGIERI                         )
                                                  )
          Plaintiff,                              )
                                                  )
v.                                                )   Case No.: 2:18-CV-0476-LCB
                                                  )
THE CITY OF HOOVER,                               )
                                                  )
          Defendant.                              )


                                MEMORANDUM OPINION

          The plaintiff, Christopher Todd Ruggieri1, filed a complaint on March 26,

2018, pursuant to the Americans with Disabilities Act (“ADA”) against his former

employer, the City of Hoover (“City”). Ruggieri also named as defendants two

City employees in their individual capacities. The City moved to dismiss all of

Ruggieri’s claims pursuant to Rule 12(b)(6), Fed. R. Civ. P., and filed a

counterclaim. The judge previously assigned to this case2 dismissed all claims

against the individual defendants as well as Ruggieri’s claim regarding purported

violations of HIPAA. However, the Court denied the City’s motion to dismiss

Ruggieri’s ADA claim and granted him leave to amend his complaint. On August

31, 2018, Ruggieri filed a document which contained a response to the defendant’s

answer, a response to the defendant’s counterclaim, and what appeared to be
1
    Mr. Ruggieri is appearing pro se.
2
    This case was reassigned to the undersigned on October 23, 2018.
          Case 2:18-cv-00476-LCB Document 49 Filed 05/03/19 Page 2 of 14



additional causes of action. (Doc. 29). However, the Court struck that filing

insofar as it constituted a response to the defendant’s answer, and again gave

Ruggieri leave to file a proper amended complaint. (Doc. 30). On October 19,

2018, Ruggieri filed another amended complaint.          However, that filing was

stricken for its failure “to comply with several of the requirements set out by the

Court” in its prior order granting leave to amend. (Doc. 33). On November 13,

2018, Ruggieri filed an “Amended Claim Statement” (Doc. 35), which this Court

will construe as his second amended complaint. In the present complaint, Ruggieri

re-alleged his ADA claim and added several additional claims related to his

termination. Before the Court is the City’s motion to dismiss Ruggieri’s Amended

Claim Statement. (Doc. 41). The motion has been fully briefed and is ripe for

review.

      In its motion, the City included a footnote in which it reasserted its claim

that Ruggieri’s ADA claim should be dismissed and noted that this Court could

revisit the ruling denying the previous motion. See (Doc. 41), citing Solutia, Inc. v.

McWane, Inc., 726 F. Supp. 2d 1316, 1328 (N.D. Ala. 2010). Because this Court

agrees with the reasoning set forth in the previous judge’s memorandum opinion

and order denying the City’s first motion to dismiss Ruggieri’s ADA claim, the

Court declines to revisit that ruling.




                                          2
       Case 2:18-cv-00476-LCB Document 49 Filed 05/03/19 Page 3 of 14



      However, for the reasons that follow, the Court finds that the City’s motion

to dismiss the remaining claims in Ruggieri’s Amended Claim Statement is due to

be GRANTED.

                                       Background

      Ruggieri was employed by the City in its information technology (“IT”)

department. Ruggieri alleged that, on July 7, 2017, the City required him to begin

anger-management counseling with Dr. Lita Clark. Ruggieri stated that Dr. Clark

informed him that he would be required to waive his HIPAA rights or the sessions

would end, and the City would terminate his employment. According to Ruggieri,

he attended three therapy sessions with Dr. Clark after which she released him and

“stat[ed] that there was nothing wrong with [him].” (Doc. 35). Ruggieri asserted

that he was the only employee in the IT department who was required to attend

such counseling; that the counseling was not consistent with his job requirements;

and that the counseling was not a business necessity for the City.

      Ruggieri claimed that, on the day he was released from counseling, he spoke

to Mesha Dacus, the City’s Assistant Human Resources Director, to voice concern

over the City’s decision to send him to counseling. A week later, Ruggieri said, he

was called in to Melinda James Lopez’s office and told that his fears were

unfounded. According to Ruggieri, he had been recording his conversations with

people in his office as well as his therapy sessions with Dr. Clark. Ruggieri stated


                                         3
         Case 2:18-cv-00476-LCB Document 49 Filed 05/03/19 Page 4 of 14



that Lopez told him that he was forbidden to record any more conversations at

work.

        On October 11, 2017, Ruggieri was placed on administrative leave.

Ruggieri alleged that “[s]ome [] time between October 11, 2017, and November

16, 2017, the hard drives were pulled from [his] machine and subject[ed] to a

forensics search.” (Doc. 35). According to Ruggieri, his files were encrypted.

Therefore, he said, someone would have had to log in under his profile in order to

access his files. On November 16, 2017, Ruggieri claimed that the City leveled

“certain charges”3 against him and set a hearing in front of a tribunal for the

following Monday, November 20, 2017. Ruggieri opted not to attend the hearing

and resigned from his position on November 16, 2017.

                                       Standard of Review

        Rule 12(b)(6) enables a defendant to move to dismiss a complaint for

“failure to state a claim upon which relief can be granted.” Fed. R. Civ. P.

12(b)(6). A Rule 12(b)(6) motion to dismiss tests the sufficiency of a complaint

against the “liberal pleading standards set forth by Rule 8(a)(2).” Erickson v.

Pardus, 551 U.S. 89, 94 (2007). When evaluating a Rule 12(b)(6) motion to

dismiss, a district court accepts as true the allegations in the complaint and

construes the allegations in the light most favorable to the plaintiff. See Brophy v.

3
 Although not stated in his amended complaint, subsequent filings reveal that Ruggieri was
accused of improperly accessing emails between two of his supervisors.
                                               4
       Case 2:18-cv-00476-LCB Document 49 Filed 05/03/19 Page 5 of 14



Jiangbo Pharms. Inc., 781 F.3d 1296, 1301 (11th Cir. 2015).           Generally, a

complaint should include “enough information regarding the material elements of a

cause of action to support recovery under some ‘viable legal theory.’” Am. Fed'n

of Labor & Cong. of Indus. Orgs. v. City of Miami, Fla., 637 F.3d 1178, 1186

(11th Cir . 2011), quoting Roe v. Aware Woman Ctr. for Choice, Inc., 253 F.3d

678, 683–84 (11th Cir. 2001). In reviewing this case, this Court notes that “[p]ro

se pleadings are held to a less stringent standard than pleadings drafted by

attorneys and will, therefore, be liberally construed.”    Tannenbaum v. United

States, 148 F. 3d 1262, 1263 (11th Cir. 1998)(per curiam)(citation omitted).

                   Ruggieri’s Claims and the City’s Counterclaim

      In his amended complaint, Ruggieri first reasserted his ADA claim.

Additionally, Ruggieri raised the following claims: (1) “Tampering with

Evidence”; (2) “False Light Defamation of Character”; (3) a violation of the

Electronic Communication Privacy Act (“ECPA”); (4) invasion of privacy; (5) a

violation of his Fourth Amendment rights; (6) slander and libel; (7) and

“Targeting.” (Doc. 35). The City asserted a counterclaim against Ruggieri in

which it asserted that Ruggieri is required to reimburse the City for tuition

payments that it made for Ruggieri to attend classes at the University of Alabama

at Birmingham. Although Ruggieri denied that he owes any money to the City, he

has not moved to dismiss its counterclaim.


                                         5
          Case 2:18-cv-00476-LCB Document 49 Filed 05/03/19 Page 6 of 14



                           The City’s Motion to Dismiss

      In its motion to dismiss, the City addressed each of Ruggieri’s claims in

turn. As noted, this Court declines to revisit the previous judge’s ruling in which

she denied the City’s motion to dismiss Ruggieri’s ADA claim. The Court will

now proceed to address each of the City’s arguments for dismissing Ruggieri’s

claims.

                             Tampering with Evidence

      The City asserted that there is no cause of action under state or federal law

for “tampering with evidence.” This Court agrees. In his response to the City’s

motion, Ruggieri argued that his “Tampering with Evidence” claim arises under 18

U.S.C. 1519, entitled, “Destruction, alteration, or falsification of records in Federal

investigations and bankruptcy.” However, 18 U.S.C. 1519, is a criminal statute

and does not authorize a civil cause of action. Although Courts are directed to

liberally construe pleadings filed by pro se parties, nothing in the paragraph that

Ruggieri submitted in support of this claim can be construed as an independent

cause of action. Accordingly, Ruggieri’s “Tampering with Evidence” claim is due

to be dismissed pursuant to Rule 12(b)(6), Fed. R. Civ. P., because it fails to state a

claim for which relief can be granted.

      In his filings with this Court, Ruggieri goes into great technical detail to

explain his contention that the City’s method of accessing his computer rendered


                                          6
        Case 2:18-cv-00476-LCB Document 49 Filed 05/03/19 Page 7 of 14



useless any information taken from the hard drive.           Although the Court is

dismissing this claim as a separate cause of action, Ruggieri is certainly entitled to

challenge the admissibility of any of this evidence should the City attempt to offer

it at trial. The Court expresses no opinion at this time regarding the admissibility

of any evidence purportedly taken from Ruggieri’s computer.

                      False Light Defamation of Character

      The City expressed confusion regarding the exact claim Ruggieri was

attempting to raise in this count. The City stated: “It isn’t clear whether Ruggieri

is asserting a defamation claim, a false-light invasion-of-privacy claim, or both….”

(Doc. 41, p. 4). In his sur-reply brief, Ruggieri clarified that his allegations

“qualify as both.” (Doc. 45, p. 2). Because pro se pleadings are to be liberally

construed, the Court will consider Ruggieri’s claims as such.

      The City first addressed Ruggieri’s claim for false light invasion of privacy.

The City correctly noted that, “[t]o establish false light invasion of privacy, a

plaintiff must show (a) the false light in which the other was placed would be

highly offensive to a reasonable person, and (b) the actor had knowledge of or

acted in reckless disregard as to the falsity of the publicized matter and the false

light in which the other would be placed.” Horne v. Russell Cty. Comm’n 379 F.

Supp. 1305, 1342 (M.D. Ala. 2005), aff’d 180 F. App’x 903 (11th Cir. 2006). The

City argued that Ruggieri failed to plead that the City communicated or publicized


                                          7
        Case 2:18-cv-00476-LCB Document 49 Filed 05/03/19 Page 8 of 14



anything about him to any third party. The City further asserted that Ruggieri

failed to specifically identify in his amended complaint the information that he

claimed cast him in a false light.

      In his amended complaint, Ruggieri stated that “[p]erforming the above

actions casts a False Light on the Plaintiff and Defames the Character of the

Plaintiff with no actual, verifiable evidence.” This is the entirety of his claim for

false light invasion of privacy and defamation. The Court will assume that the

actions Ruggieri is referring to are the City’s search of his computer and

subsequent accusations against him.       However, the City correctly notes that

Ruggieri does not specify which of the “above actions” constitutes false light

invasion of privacy. In his responses to the City’s motion to dismiss, Ruggieri

included additional facts in an attempt to cure the defects alleged by the City. The

proper course for Ruggieri to take would have been to again seek leave to amend

his complaint. However, Ruggieri has had several chances to amend his complaint

in the present case and was given specific instructions by the previously-assigned

judge on the proper way to do so. See (Doc. 30, p. 7-8). Accordingly, the Court

will not consider the additional facts and allegations raised in Ruggieri’s replies as

part of his amended complaint.

      As claimed by the City, Ruggieri’s amended complaint did not allege that

false information about him was publicized to any third parties. Publication of


                                          8
        Case 2:18-cv-00476-LCB Document 49 Filed 05/03/19 Page 9 of 14



false material is an essential element to this type of claim. Thus, even accepting all

of the allegations in Ruggieri’s amended complaint as true and construing them in

the light most favorable to him, Ruggieri has still failed to allege sufficient facts to

establish false light invasion of privacy. Accordingly, this claim is due to be

dismissed pursuant to Rule 12(b)(6), Fed. R. Civ. P.

       Ruggieri’s defamation claim suffers from the same defects. In Alabama, the

elements of defamation are:

       1) a false and defamatory statement concerning the plaintiff; 2) an
       unprivileged communication of that statement to a third party; 3) fault
       amounting at least to negligence on the part of the defendant; and 4)
       either actionability of the statement irrespective of special harm or the
       existence of special harm caused by the publication of the statement.

Adams v. Bank of Am., N.A., 237 F. Supp. 3d 1189, 1202 (N.D. Ala. 2017), quoting

Wal–Mart Stores, Inc. v. Smitherman, 872 So. 2d 833, 840 (Ala. 2003), quoting in

turn McCaig v. Talladega Publ'g Co., 544 So. 2d 875, 877 (Ala. 1989). As noted

above, there are no allegations in Ruggieri’s amended complaint that the City

communicated any false statements to any third parties. Thus, for the same reasons

Ruggieri failed to state a claim for false light invasion of privacy, he also failed to

state a claim for defamation4. See Rule 12(b)(6), Fed. R. Civ. P.




4
 Ruggieri includes a separate section in his amended complaint alleging “Slander and Libel.”
(Doc. 35, p. 3). The analysis regarding defamation applies to those allegations as well.
Accordingly, Ruggieri’s slander and libel claims are due to be dismissed pursuant to Rule
12(b)(6), Fed. R. Civ. P.
                                               9
        Case 2:18-cv-00476-LCB Document 49 Filed 05/03/19 Page 10 of 14



                                Invasion of Privacy

        In paragraph 18 of Ruggieri’s amended complaint, he claims that the search

of his computer and hard drive “both by City officials and Law Enforcement

Officers, was a violation of [his] ‘reasonable expectation of privacy’ as described

in both the 4th Amendment to the Constitution of the United States and the

Electronics Communication Privacy Act [(“ECPA”)].            Therefore, Invasion of

Privacy and an ECPA claim is added to this case.” (Doc. 35, p. 3). The Court will

address each of these claims in turn.

        The Alabama Supreme Court has held that the tort of invasion of privacy

consists of the following: “1) the intrusion upon the plaintiff's physical solitude or

seclusion; 2) publicity which violates the ordinary decencies; 3) putting the

plaintiff in a false, but not necessarily defamatory, position in the public eye; and

4) the appropriation of some element of the plaintiff's personality for a commercial

use.”    Phillips v. Smalley Maint. Servs., Inc., 435 So. 2d 705, 708 (Ala.

1983)(footnote omitted).

        As best the Court can determine, Ruggieri has alleged that the City invaded

his privacy by improperly searching the hard drive and other related equipment on

his City-issued computer thereby intruding upon his physical solitude or seclusion.

However, Ruggieri never asserted that the City accessed any of his personal

devices or that it somehow accessed personal information about him. As noted in


                                         10
          Case 2:18-cv-00476-LCB Document 49 Filed 05/03/19 Page 11 of 14



the previous section, Ruggieri never alleges what information was even accessed.

Thus, there is no allegation that the City intruded upon Ruggieri’s physical solitude

or seclusion. Rather, by his own admission, the City searched Ruggieri’s computer

– that was issued to him by the City – on City property while Ruggieri was on

administrative leave. Accordingly, Ruggieri alleged no facts which, if true, would

demonstrate that the City intruded upon his physical solitude or seclusion.

Accordingly, this claim is due to be dismissed pursuant to Rule 12(b)(6), Fed. R.

Civ. P.

      Finally, Ruggieri alleged no facts that, if true, would demonstrate that the

City publicized a matter “which violates the ordinary decencies … put[] the

plaintiff in a false, but not necessarily defamatory, position in the public eye … [or

appropriated] some element of the plaintiff's personality for a commercial use.” Id.

Accordingly, Ruggieri has failed to state a claim for invasion of privacy.

Therefore, this claim is due to be dismissed pursuant to Rule 12(b)(6), Fed. R. Civ.

P.

      Ruggieri also alleged that the search of his computer and hard drive was a

violation of his “‘reasonable expectation of privacy’ as described in … the

Electronic Communication Privacy Act.” (Doc. 35, p. 3). Although Ruggieri does

not identify the specific provision of the ECPA under which he seeks relief, the

Court surmises, as does the defense, that Ruggieri seeks the recovery of civil


                                         11
       Case 2:18-cv-00476-LCB Document 49 Filed 05/03/19 Page 12 of 14



damages authorized by 18 U.S.C. § 2520, which provides in relevant part: “any

person whose wire, oral, or electronic communication is intercepted, disclosed, or

intentionally used in violation of this chapter may in a civil action recover from the

person or entity, other than the United States, which engaged in that violation such

relief as may be appropriate.”

      Again,    Ruggieri’s    amended     complaint    does    not   identify   what

communication or other information was allegedly intercepted by the city.

Additionally, Ruggieri does not allege that anything was “disclosed, or

intentionally used in violation of” the ECPA. As noted, Ruggieri’s complaint

simply alleged that the City’s investigation was improper and that it invaded his

expectations of privacy. Viewing the allegations in the light most favorable to

Ruggieri, the Court concludes that he has failed to state a claim for a violation of

the ECPA. See Rule 12(b)(6), Fed. R. Civ. P.

                                   Fourth Amendment

      Ruggieri next alleged that the City’s search was performed without a court

order and, therefore, violated his rights under the Fourth Amendment. Ruggieri

claimed that this “illegal search and seizure … adds a 4th Amendment claim to this

case.” (Doc. 35, p. 3). However, this is a civil case, and the Fourth Amendment

itself does not create a private cause of action for a violation of its provisions.

Ruggieri does not identify any statute under which he purports to assert a claim for


                                         12
       Case 2:18-cv-00476-LCB Document 49 Filed 05/03/19 Page 13 of 14



relief. Therefore, he has failed to state a claim for which relief can be granted as to

this particular count. See Rule 12(b)(6), Fed. R. Civ. P.

                                        “Targeting”

      Finally, Ruggieri claimed that no other City employees were treated in a

manner similar to him, i.e. being sent to counselling. Therefore, Ruggieri claimed,

he “can only interpret these actions as willful targeting…. Therefore, a claim of

Targeting is added to this case.” The Court is not aware of any such cause of

action under Alabama or Federal law. When a plaintiff asserts a claim that courts

do not recognize, the claim must be dismissed pursuant to Rule 12(b)(6) Fed. R.

Civ. P. See Smith v. State Farm Fire & Cas. Co., No. 7:16-CV-00572-LSC, 2016

WL 3144082, at *2 (N.D. Ala. June 6, 2016).

                                        Conclusion

      For the foregoing reasons, all of Ruggieri’s claims except for his ADA claim

are due to be dismissed pursuant to Rule 12(b)(6), Fed. R. Civ. P. Thus, the City’s

motion in that regard is due to be GRANTED. Insofar as the City has moved to

dismiss Ruggieri’s ADA claim by asking this Court to revisit the previous judge’s

ruling, that motion is due to be DENIED.              A separate order will issue

contemporaneously herewith.




                                          13
Case 2:18-cv-00476-LCB Document 49 Filed 05/03/19 Page 14 of 14



DONE and ORDERED May 3, 2019.



                          _________________________________
                          LILES C. BURKE
                          UNITED STATES DISTRICT JUDGE




                              14
